USCA11 Case: 14-13158   Document: 25     Date Filed: 10/17/2014   Page: 1 of 10




            IN THE UNITED STATES COURT OF APPEALS
                   FOR THE ELEVENTH CIRCUIT
                      ____________________

                         CASE NO. 14-13158
                        ____________________

           RICHARD LOBERGER and RAYMOND MILLER,

                          Plaintiffs/Appellants,

                                    v.

             DEL-JEN, INC. and J&J MAINTENANCE, INC.,

                       Defendants/Appellees.
    ________________________________________________________

     ON APPEAL FROM THE UNITED STATES DISTRICT COURT
           FOR THE NORTHERN DISTRICT OF FLORIDA
                 HONORABLE RICHARD SMOAK
                       (5:13-cv-299-RS/CJK)
    ________________________________________________________

APPELLANT’S MOTION TO SET ASIDE DISMISSAL AND REMEDY
                          DEFAULT
   ________________________________________________________

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 USCA11 Case: 14-13158       Document: 25     Date Filed: 10/17/2014   Page: 2 of 10


  APPELLANTS’ MOTION TO SET ASIDE DISMISSAL AND REMEDY
                        DEFAULT

      Appellants, through their undersigned counsel, and pursuant to 11th Cir.R.

42-2(e), respectfully request that this Court set aside the dismissal of the main

appeal, reinstate the main appeal and permit Appellant to remedy their default by

accepting the untimely filings herewith, and states:

      1. Appellants were granted an enlargement of time in which to serve and

         file their Initial Brief to and including October 6, 2014.

      2. The Initial Brief was finalized and ready for filing on October 6, within

         the time provided by order. The undersigned was responsible for filing

         the brief, and began the process late the evening of October 6, 2014 and

         within a time frame that would have resulted in a timely filing. The

         undersigned routinely files federal filings at the end of each evening

         without incident. The undersigned logged into his law firm’s servers

         using the remote-access service gotomypc.com, reviewed the Word file

         containing the Initial Brief to ensure the correct final version would be

         uploaded, and then logged into the Eleventh Circuit’s website. In doing

         so, the undersigned encountered a screen similar to that appearing on the

         next page, advising that a Java plug-in was needed or needed updating.

         The screenshot below – taken this evening, October 17 - is the same that

         the undersigned encountered the evening of October 6, 2014:

                                          1
USCA11 Case: 14-13158    Document: 25     Date Filed: 10/17/2014   Page: 3 of 10




    3. The undersigned attempted to install the plug-in but could not do so. The

       undersigned then had the Initial Brief forwarded to his personal email

       address evening of October 6, 2014. The Initial Brief was in final form

       on October 6, 2014, and it was that brief emailed to the undersigned by

       firm founder Marie Mattox, repeatedly, at 12:10 AM ET, 12:15 AM ET

       and 12:17 AM ET, because the Java plug-in issue was not resolving and

       every extraordinary effort was being undertaken to get the Initial Brief

       filed without access to the firm’s information-technology expert:



                                      2
USCA11 Case: 14-13158    Document: 25     Date Filed: 10/17/2014   Page: 4 of 10




       Transmission of Initial Brief from firm servers to the undersigned’s home
       email and computer, 12:10 AM ET October 7, 2014




                                      3
USCA11 Case: 14-13158    Document: 25     Date Filed: 10/17/2014   Page: 5 of 10




       Second transmission of Initial Brief from firm servers to the
       undersigned’s home email and computer, 12:15 AM ET October 7, 2014




       Third transmission of Initial Brief from firm servers to the undersigned’s
       home email and computer, 12:15 AM ET October 7, 2014



                                      4
USCA11 Case: 14-13158       Document: 25     Date Filed: 10/17/2014   Page: 6 of 10


    4. The undersigned encountered the same Java plug-in issue on his home

         computer, but was able to work around it because the security protocols

         on the firm’s servers – which repeatedly blocked the download of the

         Java applet onto the undersigned’s firm computer – do not affect the

         undersigned’s home computer and the undersigned was able to install the

         applet and upload the brief.

    5. By then, the brief was untimely by about thirty minutes.                 The

         undersigned then emailed counsels for both Appellees, as shown below,

         and was later advised that both consented to the untimely filing:

    6.




                                         5
USCA11 Case: 14-13158       Document: 25    Date Filed: 10/17/2014   Page: 7 of 10


    7. The undersigned and his staff worked hard to complete the Initial Brief,

       to assemble a quality brief worthy of this Court’s standards, and to ensure

       its timely filing.    That effort fell short because of an unanticipated

       technology issue that the undersigned had not previously encountered.

       The undersigned uploads dozens of CM/ECF filings a motion, at the

       district court level, and has never previously encountered a similar issue.

       The undersigned is a rare filer on this Court’s website, and was unaware

       the issue at hand was even a possibility. The undersigned takes seriously

       strict compliance with court rules, and fully expected the brief to be

       timely filed.

    8. Respectfully, this Court should accept the Initial Brief, which was filed

       within approximately thirty minutes of the deadline, and which was the

       subject of a fully-consented motion to enlarge the time for filing by forty-

       minutes, to ensure the minimum enlargement needed and to allow for any

       variance in the clock times of the Court’s servers compared to the

       undersigned’s personal home desktop.

    9. Following the dismissal of this action, and having consented to the

       requested forty-minute enlargement, both counsels for Appellees now

       object to this relief and to reinstatement of the appeal.




                                        6
 USCA11 Case: 14-13158      Document: 25     Date Filed: 10/17/2014    Page: 8 of 10


      10.To ensure strict compliance with this Court’s rules, and particularly, and,

         as required by 11th Cir.R. 30-1 & 42-2(e), has simultaneously herewith

         refiled the Initial Brief and Appendix.

      11. If the Court deems appropriate, the undersigned will appear before it to

         respond to any query the Court deems appropriate, and to further accept

         any sanction the Court imposes. The Appellants respectfully deserve

         reinstatement and in no way contributed to the unexpected but complete

         bar to the undersigned’s filing, triggered by the Java applet download

         notice and, in unfortunate tandem, the firm’s IT system protocols

         blocking the downloading of software onto firm servers.

      WHEREFORE, Appellants respectfully request that this Court grant their

Motion to Set Aside Dismissal and Remedy Default, accept the Appendix for filing

and reinstate the main appeal.

                                             Respectfully submitted,


                                             /s/ James Garrity
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                                             ATTORNEYS FOR APPELLANT


                                         7
 USCA11 Case: 14-13158             Document: 25        Date Filed: 10/17/2014   Page: 9 of 10




                                    CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that a copy of the foregoing has been furnished by electronic mail to all

counsel of record this 17th day of October 2014:

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COUNSEL FOR DEFENDANT
J&J MAINTENANCE, INC.




                                                   8
USCA11 Case: 14-13158         Document: 25       Date Filed: 10/17/2014     Page: 10 of 10


             CERTIFICATE OF INTERESTED PERSONS AND CORPORATE
                           DISCLOSURE STATEMENT

    The persons and entities known to Appellants to be interested in the outcome of this

case are:

       1.    BAKER & HOSTETLER LLP

       2.    DEL-JEN, Inc. (Appellee)

       3.    ELARBEE, THOMPSON, SAPP, ETC LLP

       4.    Garrity, James (Counsel for Appellants)

       5.    J & J Maintenance, Inc. (Counsel for Appellee)

       6.    Lail, Patrick L. (Counsel for Appellee

       7.    Libby, Sean M. (Counsel for Appellee)

       8.    Loberger, Richard (Appellant)

       9.    Marie A. Mattox, P. A. (Counsel for Appellants)

       10.   Mattox, Marie (Counsel for Appellants)

       11.   Miller, Raymond (Appellant)

       12.   Seegers, James W. (Counsel for Appellee)

       13.   Smoak, Richard (federal Judge)

       14.   Wilson, Stanford G. (Counsel for Appellee)

                                          Respectfully submitted,


                                          s/ James Garrity
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                                             9
